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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

           v.                                                  Crim No. 1:22-cr-00354-RCL

RICHARD SLAUGHTER, and

CADEN PAUL GOTTFRIED,

                Defendants.

                              JOINT PROPOSED SCHEDULING ORDER

       As discussed at the Status Conference held on June 23, 2023, the parties submit the

following proposed Scheduling Order:

       1.         By August 25, 2023: (a) the Government shall notify Defendant of its intention, if

any, to introduce any evidence under Federal Rule of Evidence 404(b); (b) Defendant shall

notify the United States of its intention, if any, to assert any of the defenses outlined in Federal

Rules of Criminal Procedure 12.1, 12.2, and 12.3; and (c) each party shall disclose to opposing

counsel a written summary of any testimony that the party intends to use under Federal Rules of

Evidence 702, 703, or 705;

       2.         Defendant shall, by September 1, 2023, file any pretrial motions under Federal

Rule of Criminal Procedure 12. The Government shall respond to any such motion by

September 22, 2023, and Defendant shall reply by September 29, 2023.

       3.         The parties shall file any motions in limine by October 6, 2023, and any

oppositions to the motions shall be filed by October 20, 2023.

       4.         The parties shall file a joint pretrial statement by November 1, 2023, which will

include:




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         a. Proposed jury instructions, indicating:

                 i. The instructions to which the parties agree;

                 ii. The instructions to which the parties disagree, with specific objections

                     noted below each disputed instruction and supporting legal authority

                     (if any); and

                iii. The proposed instruction’s source (e.g., the Red Book, Matthew

                     Bender’s Federal Jury Instructions), or, for modified or new

                     instructions, its supporting legal authority;

         b. A list of expert witnesses, accompanied by a brief description of each

             witness’s area of expertise and expected testimony, followed by specific

             objections (if any) to each witness;

         c. A list of prior convictions that the government intends to use for impeachment

             or any other purpose, followed by specific objections (if any) to that use;

         d. A list of exhibits that the government intends to offer during trial, with a brief

             description of each exhibit; and

         e. Any stipulations executed or anticipated to be executed.

5. The government is available throughout the month of November for the Court to

      schedule a pretrial conference and motions hearing at its convenience. Defense

      counsel not indicated any dates they are unavailable.

6.       A jury trial shall commence on December 1, 2023, at ____ _.m.




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                                          Respectfully submitted,

                                          MATTHEW M. GRAVES
                                          United States Attorney
                                          D.C. Bar Number 481052

_/s/________________________       By:    ____________________________
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